       Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING


 ANDREW SCAVUZZO and H.I., as Parent )
 and Next Friend of T.I., on behalf of )
 themselves and all similarly situated persons, )
                                                )
         PLAINTIFFS,                            )          Case No. 1:20-CV-00215-SWS
 v.                                             )
                                                )
 TRIANGLE CROSS RANCH, LLC, a                   )
 Wyoming            limited          liability  )
 corporation;         GERALD                E.  )
 SCHNEIDER; MICHAELEEN                      P.  )          DEFENDANT    SOLT’S
 SCHNEIDER;                      MATHEW         )          ANSWER          TO
 SCHNEIDER; MARK SCHNEIDER;                     )          PLAINTIFFS’ SECOND
 THOMAS GEORGE; and the SOCIETY                 )          AMENDED COMPLAINT
 OF OUR LADY OF THE MOST HOLY                   )
 TRINITY, a Texas corporation;                  )
                                                )
         DEFENDANTS.                            )


       COMES NOW the Defendant, Society of Our Lady of the Most Holy Trinity (“SOLT”)

and hereby serves its Answer to Plaintiffs’ Second Amended Complaint. In support of its Answer,

SOLT hereby states the following:

                                NATURE OF THE ACTION

   1. Paragraph 1 of Plaintiffs’ Second Amended Complaint does not contain any factual

       allegations specific to this case which requires a response. To the extent an answer is

       required, SOLT denies the same.

   2. Paragraph 2 of Plaintiffs’ Second Amended Complaint does not contain any factual

       allegations specific to this case which requires a response. To the extent an answer is

       required, SOLT denies the same.




                                              1
    Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 2 of 11




3. SOLT has no knowledge of the allegations in paragraph 3 of Plaintiffs’ Second Amended

   Complaint, including footnotes 1-2, and therefore must deny the same.

4. SOLT has no knowledge of the allegations in paragraph 4 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

5. SOLT has no knowledge of the allegations in paragraph 5 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

6. SOLT has no knowledge of the allegations in paragraph 6 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

7. SOLT has no knowledge of the allegations in paragraph 7 of Plaintiffs’ Second Amended

   Complaint, including footnote 3, and therefore must deny the same.

8. SOLT has no knowledge of the allegations in paragraph 8 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

9. SOLT has no knowledge of the allegations in paragraph 9 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

10. SOLT has no knowledge of the allegations in paragraph 10 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

11. SOLT has no knowledge of the allegations in paragraph 11 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

12. SOLT has no knowledge of the allegations in paragraph 12 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

13. SOLT denies the allegations in paragraph 13 of Plaintiffs’ Second Amended Complaint

   that it profited or knowingly benefitted from participation in a venture which it knew or




                                           2
    Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 3 of 11




   should have known was unlawful. With respect to the remaining allegations contained in

   paragraph 13, SOLT has no knowledge and therefore must deny the same.

                 SUBJECT MATTER JURISDICTION AND VENUE

14. SOLT admits the allegations in paragraph 14 of Plaintiffs’ Second Amended Complaint

   with respect to original jurisdiction and deny the remainder of the allegations in that

   paragraph.

15. SOLT admits the allegations in paragraph 15 of Plaintiffs’ Second Amended Complaint

   with respect to proper venue and deny the remainder of the allegations in that paragraph.

                THE PARTIES AND PERSONAL JURISDICTION

16. SOLT has no knowledge of the allegations in paragraph 16 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

17. SOLT has no knowledge of the allegations in paragraph 17 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

18. SOLT has no knowledge of the allegations in paragraph 18 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

19. SOLT has no knowledge of the allegations in paragraph 19 of Plaintiffs’ Second Amended

   Complaint, including footnote 4, and therefore must deny the same.

20. SOLT has no knowledge of the allegations in paragraph 20 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

21. SOLT has no knowledge of the allegations in paragraph 21 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

22. SOLT has no knowledge of the allegations in paragraph 22 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.




                                           3
    Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 4 of 11




23. SOLT has no knowledge of the allegations in paragraph 23 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

24. SOLT has no knowledge of the allegations in paragraph 24 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

25. SOLT admits that it is a Texas corporation with its principal place of business in Robstown,

   Texas and allegations with respect to where to service it. SOLT denies the remainder of

   the remainder of the allegations contained in paragraph 25 of Plaintiffs’ Second Amended

   Complaint.

26. SOLT admits that the Court has jurisdiction over it and denies the remaining allegations in

   paragraph 26 of Plaintiffs’ Second Amended Complaint.

                              FACTUAL ALLEGATIONS

27. SOLT has no knowledge of the allegations in paragraph 27 of Plaintiffs’ Second Amended

   Complaint, including footnotes 6-8, and therefore must deny the same.

28. SOLT admits that Defendant Thomas George was a member of the SOLT Lay Association.

   SOLT denies the remainder of the allegations contained in paragraph 28 of Plaintiffs’

   Second Amended Complaint.

29. SOLT has no knowledge of the allegations in paragraph 29 of Plaintiffs’ Second Amended

   Complaint, including footnote 9, and therefore must deny the same.

30. SOLT has no knowledge of the allegations in paragraph 30 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

31. SOLT has no knowledge of the allegations in paragraph 31 of Plaintiffs’ Second Amended

   Complaint, including footnote 10, and therefore must deny the same.




                                             4
    Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 5 of 11




32. SOLT has no knowledge of the allegations in paragraph 32 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

33. SOLT has no knowledge of the allegations in paragraph 33 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

34. SOLT has no knowledge of the allegations in paragraph 34 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

35. SOLT has no knowledge of the allegations in paragraph 35 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

36. SOLT has no knowledge of the allegations in paragraph 36 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

37. SOLT has no knowledge of the allegations in paragraph 37 of Plaintiffs’ Second Amended

   Complaint, including subparagraphs (a) through (i), and therefore must deny the same.

38. SOLT has no knowledge of the allegations in paragraph 38 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

39. SOLT has no knowledge of the allegations in paragraph 39 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

40. SOLT has no knowledge of the allegations in paragraph 40 of Plaintiffs’ Second Amended

   Complaint, including subparagraphs (a) through (h) and therefore must deny the same.

41. Paragraph 41 of Plaintiffs’ Second Amended Complaint does not contain any factual

   allegations and does not require a reply. To the extent that a reply is required, SOLT has

   no knowledge and must deny the same.

42. SOLT has no knowledge of the allegations in paragraph 42 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.




                                           5
    Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 6 of 11




43. SOLT has no knowledge of the allegations in paragraph 43 of Plaintiffs’ Second Amended

   Complaint, including subparagraphs (a) through (g) and therefore must deny the same.

44. SOLT has no knowledge of the allegations in paragraph 44 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

45. SOLT has no knowledge of the allegations in paragraph 45 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

46. SOLT has no knowledge of the allegations in paragraph 46 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

47. SOLT has no knowledge of the allegations in paragraph 47 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

48. SOLT has no knowledge of the allegations in paragraph 48 of Plaintiffs’ Second Amended

   Complaint and therefore must deny the same.

49. SOLT has no knowledge of the allegations in paragraph 49 of Plaintiffs’ Second Amended

   Complaint, including subparagraphs (a) through (g) and footnote 11, and therefore must

   deny the same.

50. SOLT denies the allegations in paragraph 50 of Plaintiffs’ Second Amended Complaint.

51. SOLT denies the allegations in paragraph 51 of Plaintiffs’ Second Amended Complaint.

52. SOLT denies the allegations in paragraph 52 of Plaintiffs’ Second Amended Complaint.

53. SOLT denies the allegations in paragraph 53 of Plaintiffs’ Second Amended Complaint.

54. SOLT denies the allegations in paragraph 54 of Plaintiffs’ Second Amended Complaint.

55. SOLT denies the allegations in paragraph 55 of Plaintiffs’ Second Amended Complaint.




                                          6
    Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 7 of 11




56. Paragraph 56 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   and does not require a reply. To the extent that a reply is required, SOLT has no knowledge

   and must deny the same.

                         CLASS ACTION ALLEGATIONS

57. SOLT denies the allegations in paragraph 57 of Plaintiffs’ Second Amended Complaint.

58. SOLT denies the allegations in paragraph 58 of Plaintiffs’ Second Amended Complaint.

59. SOLT denies the allegations in paragraph 59 of Plaintiffs’ Second Amended Complaint.

60. SOLT denies the allegations in paragraph 60 of Plaintiffs’ Second Amended Complaint,

   including subparagraphs (i)-(iv).

61. SOLT denies the allegations in paragraph 62 of Plaintiffs’ Second Amended Complaint,

   including subparagraphs (i)-(vi).

62. SOLT denies the allegations in paragraph 62 of Plaintiffs’ Second Amended Complaint.

63. SOLT denies the allegations in paragraph 63 of Plaintiffs’ Second Amended Complaint.

64. SOLT has no knowledge of the allegations in paragraph 64 of Plaintiffs’ Second Amended

   Complaint, including subparagraphs (a) through (c), and must therefore deny the same.

65. SOLT denies the allegations in paragraph 65 of Plaintiffs’ Second Amended Complaint.

                                CAUSES OF ACTION

66. Paragraph 66 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   against SOLT and does not require a reply. To the extent that a reply is required, SOLT

   has no knowledge and must therefore deny the same. SOLT incorporates its responses to

   Paragraphs 1-65 herein.




                                            7
    Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 8 of 11




67. Paragraph 67 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   against SOLT and does not require a reply. To the extent that a reply is required, SOLT

   has no knowledge and must deny the same.

68. Paragraph 68 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   against SOLT and does not require a reply. To the extent that a reply is required, SOLT

   has no knowledge and must deny the same.

69. Paragraph 69 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   against SOLT and does not require a reply. To the extent that a reply is required, SOLT

   has no knowledge and must deny the same.

70. Paragraph 70 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   against SOLT and does not require a reply. To the extent that a reply is required, SOLT

   has no knowledge and must deny the same.

71. Paragraph 71 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   against SOLT and does not require a reply. To the extent that a reply is required, SOLT

   has no knowledge and must deny the same.

72. Paragraph 72 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   against SOLT and does not require a reply. To the extent that a reply is required, SOLT

   has no knowledge and must deny the same.

73. Paragraph 73 of Plaintiffs’ Second Amended Complaint does not contain any allegations

   against SOLT and does not require a reply. To the extent that a reply is required, SOLT

   has no knowledge and must deny the same. SOLT incorporates its responses to Paragraphs

   1-72 herein.




                                          8
    Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 9 of 11




74. Paragraph 74 of Plaintiffs’ Second Amended Complaint does not contain any factual

   allegations against SOLT and does not require a reply. To the extent that a reply is required,

   SOLT has no knowledge and must deny the same.

75. SOLT denies the allegations in paragraph 75 of Plaintiffs’ Second Amended Complaint.

76. SOLT denies the allegations in paragraph 76 of Plaintiffs’ Second Amended Complaint.

77. SOLT denies the allegations in paragraph 77 of Plaintiffs’ Second Amended Complaint.

78. Paragraph 78 of Plaintiffs’ Second Amended Complaint does not contain any factual

   allegations against SOLT and does not require a reply. To the extent that a reply is required,

   SOLT denies the same. SOLT incorporates its responses to Paragraphs 1-77 herein.

79. Paragraph 79 of Plaintiffs’ Second Amended Complaint does not contain any factual

   allegations against SOLT and does not require a reply. To the extent that a reply is required,

   SOLT denies the same.

80. SOLT denies the allegations in paragraph 80 of Plaintiffs’ Second Amended Complaint.

81. SOLT denies the allegations in paragraph 81 of Plaintiffs’ Second Amended Complaint.

82. SOLT denies the allegations in paragraph 82 of Plaintiffs’ Second Amended Complaint.

                              AFFIRMATIVE DEFENSES

83. Plaintiffs’ First Amended Complaint fails to state a claim upon which relief may be

   granted.

84. Plaintiffs failed to mitigate their damages.

85. Plaintiffs’ damages, in whole or in part, were caused by Plaintiffs’ own actions or actions

   of third parties over which SOLT had no control and for which SOLT is not responsible.

86. Plaintiffs’ claims may be barred by applicable statutes of limitation.




                                              9
       Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 10 of 11




   87. No acts or omissions by SOLT were the proximate cause of Plaintiffs’ alleged damage or

       loss.

   88. Plaintiffs may not be the real party in interest to some or all of the claim in question as

       Plaintiff’s parents may have paid treatment fees.

   89. Plaintiffs, individually or through their parents, consented to the work alleged by executing

       a waiver agreement.

   90. SOLT incorporates by reference all affirmative defenses pled by other Defendants.

   91. SOLT reserves the right to amend its Answer to assert additional affirmative defenses.

                                        JURY DEMAND

                      SOLT demands a trial by jury on all issues so triable.

       WHEREFORE SOLT, having answered Plaintiffs’ First Amended Complaint in full,

respectfully requests that this Court dismiss Plaintiffs’ First Amended Complaint with prejudice.

Dated this 17th day of May, 2022.

                                             SOCIETY OF OUR LADY OF THE MOST HOLY
                                             TRINITY, Defendant,

                                         By: ____/s/ Jane M. France___________
                                            Jane       M.      France      WSB       #7-4828
                                            Sundahl, Powers, Kapp & Martin, LLC
                                            2020        Carey        Ave,      Ste        301
                                            P.O.                   Box                    328
                                            Cheyenne,                WY                82001
                                            (307)               632-6421              (office)
                                            (307)                632-7216                (fax)
                                            jfrance@spkm.org
                                            Attorney for Defendant Society of Our Lady of the
                                            Most Holy Trinity




                                                10
       Case 1:20-cv-00215-SWS Document 193 Filed 05/17/22 Page 11 of 11




                                      By: ___/s/MaKenna J. Stoakes________
                                            Patrick J. Sodoro, appearing pro hac vice
                                            MaKenna J. Stoakes, appearing pro hac vice
                                            Sodoro Law Group
                                            13924 Gold Circle
                                            Omaha, Nebraska 68144
                                            (402) 504-9346 (office)
                                            (402) 932-1662 (fax)
                                            psodoro@smllawoffice.com
                                            mstoakes@smllawoffice.com
                                            Attorneys for Defendant Society of Our Lady of the
                                            Most Holy Trinity



                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the above and foregoing was duly
served by filing with Pacer CM/ECR which sent copies on this 17th day of May, 2022 to all
attorneys of record.




                                                    __/s/ Alexandra Plymale____




                                               11
